                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
 In re: Maria I. Gongora a/k/a Maria Irene   CHAPTER 7
 Gongora a/k/a Maria Gongora,
        Debtor.                              BANKRUPTCY CASE NUMBER
 ____________________________                18-03534/JJT
 Nationstar Mortgage LLC d/b/a Mr. Cooper
 as servicer for Federal Home Loan Mortgage  11 U.S.C. § 362
 Corporation, as trustee for Freddie Mac
 Seasoned Credit Risk Transfer Trust, Series
 2017-4, as owner of the Related Mortgage
 Loan,
        Movant,
 v.
 Maria I. Gongora a/k/a Maria Irene Gongora
 a/k/a Maria Gongora,
        Debtor,

 Robert P. Sheils, Jr., Trustee,
   Additional Respondent.

 MOTION OF NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER AS SERVICER
  FOR FEDERAL HOME LOAN MORTGAGE CORPORATION, AS TRUSTEE FOR
 FREDDIE MAC SEASONED CREDIT RISK TRANSFER TRUST, SERIES 2017-4, AS
    OWNER OF THE RELATED MORTGAGE LOAN FOR RELIEF FROM THE
               AUTOMATIC STAY UNDER SECTION 362 (d)

       Movant, Nationstar Mortgage LLC d/b/a Mr. Cooper as servicer for Federal Home Loan

Mortgage Corporation, as trustee for Freddie Mac Seasoned Credit Risk Transfer Trust, Series

2017-4, as owner of the Related Mortgage Loan ("Movant"), hereby moves for relief from the

automatic stay under section 362(d) and, by its undersigned counsel, avers the following in

support of the said motion:

       1.      Debtor, Maria I. Gongora a/k/a Maria Irene Gongora a/k/a Maria Gongora
               ("Debtor"), filed a petition under Chapter 7 of the Bankruptcy Code in the Middle
               District of Pennsylvania under the above case number.

       2.      The filing of the aforesaid Petition operated as an automatic stay under Section
               362(a) of the Bankruptcy Code of proceedings to foreclose the mortgage on the
               Mortgaged Premises.




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      3.      Nationstar Mortgage LLC d/b/a Mr. Cooper is the holder of a secured claim
              against Debtor secured only by a first mortgage lien on real estate which is the
              principal residence of Debtor located at 110 Riverfront Terrace a/k/a 89 River
              Court, Pocono Lake, PA 18347 (the "Mortgaged Premises").

      4.      Nationstar Mortgage LLC d/b/a Mr. Cooper services the loan on the property
              referenced in this motion for relief. In the event the automatic stay in this case is
              modified, this case dismisses and/or the debtor obtains a discharge and a
              foreclosure action is commenced on the mortgaged property, the foreclosure will
              be conducted in the name of for Federal Home Loan Mortgage Corporation, as
              trustee for Freddie Mac Seasoned Credit Risk Transfer Trust, Series 2017-4, as
              owner of the Related Mortgage Loan.

      5.      Nationstar Mortgage LLC d/b/a Mr. Cooper, directly or through an agent, has
              possession of the promissory note. The promissory note is either made payable to
              Noteholder or has been duly indorsed in blank. Noteholder is the original
              mortgagee, or beneficiary, or the assignee of the security instrument for the
              referenced loan.

      6.      Debtor has not claimed an exemption in the subject property.

      7.      Debtor has failed to make pre-petition and all post-petition monthly mortgage
              payments.

      8.      The defaults include the following monthly payments and charges:

      a)      Payments of $1,150.73 from July 1, 2018 through August 1, 2018 which totals
              $2,301.46;

      b)      The total amount due (8(a) through 8(a) combined) is $2,301.46

      9.      The Fair Market Value of the Property is $75,000.00, as per Debtor’s Schedules.
              The approximate amount necessary to pay off the loan is $206,589.33 good
              through August 29, 2018. The breakdown of the payoff is as follows:

           Principal Balance                                                             $131,540.10
           Accrued Interest                                                                 $640.28
           Corporate Advances                                                             $74,408.95

      10.     Movant is entitled to relief from the automatic stay because of the foregoing
              default and because:

              a)     Movant, as a holder of the first mortgage lien securing a debt owed by
                     Debtor lacks adequate protection for its interests in the Mortgaged Premises;

              b)     Debtor does not have any equity in the Mortgaged Premises; and




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               c)      The Mortgaged Premises are not necessary to an effective reorganization
                       or plan.

       11.     Debtor has indicated in their Chapter 7 Statement of Intention that they wish to
               surrender the Property.

       12.     Movant requests that the Court waive Rule 4001(a)(3), permitting Movant to
               immediately implement and enforce the Court's order.

       13.     Attached are redacted copies of any documents that support the claim, such as
               promissory notes, purchase order, invoices, itemized statements of running
               accounts, contracts, judgments, mortgages, and security agreements in support of
               right to seek a lift of the automatic stay and foreclose if necessary.

         WHEREFORE, Movant respectfully moves this Court for an Order (i) granting Movant
relief from the automatic stay to foreclose upon and to otherwise exercise and enforce its rights
with respect to the Mortgaged Premises, (ii) awarding reasonable attorneys' fees incurred in the
preparation and presentation of this motion, and (iii) granting all such other and further relief as
the Court deems appropriate and necessary. A proposed order to such effect is submitted
herewith.

                                                      Respectfully submitted,



Dated: September 17, 2018                             BY: /s/ Kevin S. Frankel
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